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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



POSTAL POLICE OFFICERS
ASSOCIATION
900 Brentwood Rd NE
                                             Case No. 20-cv-2566
Room 2106
Washington, DC 20066,

        Plaintiff,

  vs.

UNITED STATES POSTAL SERVICE;
and LOUIS DEJOY in his official
capacity as United States Postmaster
General
475 L’Enfant Plaza SW
Washington, DC 20260,

        Defendants.



                      COMPLAINT FOR INJUNCTIVE RELIEF


        The Postal Police Officers Association (“PPOA”) states for its complaint

against the United States Postal Service (“USPS” or “Postal Service”) as follows:

        1.     This is an action for an injunction. The Postal Service caused this

dispute on August 25, 2020 when it directed its police officers nationwide to end all

mail-protection and other law-enforcement activity away from the confines of postal

real estate. The Postal Service ordered its police officers to stop investigating and

preventing mail theft and mail tampering, crimes against postal employees, and all

community-policing efforts except within post office buildings. Pursuant to its
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collective bargaining agreement with the Postal Service, the PPOA filed a national-

level grievance on September 8, 2020 which, if not resolved, will go to decision

before a neutral arbitrator.

      2.      Since 1971, postal police officers have served as the uniformed division

of the Postal Service’s Inspection Service. Their statutory law-enforcement

jurisdiction is similar to that of postal inspectors and is found in the same statute,

18 U.S.C. § 3061.

      3.     From their inception, Postal Police Officers have been tasked with

protection of U.S. mail. For example, for decades, Postal Police Officers have been

assigned as law-enforcement protection to certain high-value mail shipments or

shipments of postal remittances that travel on public roads.

      4.     Congress amended the jurisdictional authority of Postal Police Officers

in 2006. Since that time, the Postal Service has increasingly used Postal Police

Officers to investigate and prevent theft of U.S. mail and to protect USPS

employees as they work in public.

      5.     Postal Police Officers have arrested countless individuals for all

manner of crimes away from postal real estate, either by themselves or in concert

with other agents. Those officers were often tasked with conducting searches and

seizures of arrested individuals, with the evidence obtained used to help secure

criminal convictions and imprisonment for some of those arrested.

      6.     In federal court in Massachusetts in 2016, USPS managers testified

that the change in Postal Police duties since 2006 was a “paradigm shift,” with



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those officers increasingly focused on protection of the mail and postal personnel on

public streets.

       7.     As of January 2020, USPS was specifically training and instructing

Postal Police Officers on investigating and enforcing mail-theft laws away from

postal facilities.

       8.     On August 25, 2020, the Postal Service announced a unilateral change

through a National Communication to all Postal Divisions. The Postal Service

declared that Postal Police Officers’ legal authority was limited only to the real

property of the Postal Service. It wrote: “PPOs may not exercise this law

enforcement authority in contexts unrelated to Postal Service premises.” It

declared that Postal Police Officers should no longer be assigned to investigate or

prevent mail theft or protection of letter carriers.

       9.     The Postal Service’s sudden change is unwarranted, impermissible,

and contrary to the language of the statute and also to collective bargaining

promises it has made to the officers’ union. The new policy puts PPOs and other

postal employees in increased danger and increases the likelihood of criminal

activity against Postal Service employees and the U.S. mail. The Court should

enjoin it.

                           JURISDICTION AND VENUE

       10.    The Court has jurisdiction over this action pursuant to 39 U.S.C.

§ 409(a) as this is an action against USPS. The Court also has jurisdiction under 39

U.S.C. § 1208(b) as this is a suit for breach of a collective bargaining agreement



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between USPS and a union of postal employees.

      11.    Venue lies in this district under 39 U.S.C. § 1208(b) as this Court has

jurisdiction over PPOA and USPS and USPS maintains its national headquarters in

this District. In addition, venue lies in this District under 28 U.S.C. § 1391(b)(1)

because USPS resides in this District and under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claim occurred in this District.

                                    THE PARTIES

      12.    PPOA is a labor union that at all relevant times has served as the

collective bargaining representative of a nationwide bargaining unit of uniformed

police officers employed by USPS.

      13.    These officers are currently deployed from designated metropolitan

areas around the country: Atlanta, Baltimore, Boston, Chicago, Cleveland, Dallas,

Houston, Los Angeles, Memphis, Miami, New Orleans, New York, Newark,

Oakland, Philadelphia, Pittsburgh, San Francisco, St. Louis, and Washington, D.C.

In addition, the Postal Service has deployed officers away from those areas and

across state lines to aid law-enforcement efforts regarding the mail in other cities

and areas.

      14.    USPS is an independent establishment of the executive branch of the

United States Government. It operates postal facilities throughout the United

States from which mail and packages are delivered across the country and from

around the world. Louis DeJoy is the United States Postmaster General.




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                            FACTUAL ALLEGATIONS

Duties and responsibilities before 2005

      15.    The Postal Police Officer position was created in 1971. Operationally,

Postal Police Officers have been part of the Postal Service’s Inspection Service, its

law-enforcement arm.

      16.    From their earliest days the Postal Service tasked these officers with

duties that included “security” and “loss prevention” with respect to the mail and

postal property. These early postal police officers were expected to conduct

“surveillance” and “investigative assignments,” including “complete investigations

of reported misdemeanors and minor crimes.”

      17.    Congress provided law-enforcement authority to these officers as

“special police officers” under Title 40 of the U.S. Code through annual

appropriations bills.

      18.    At all relevant times, Postal Police Officers have been trained as police

at federal law-enforcement training academies alongside other federal law-

enforcement officers, have carried firearms, and have been trained to identify

themselves to the public as police officers and act accordingly.

      19.    Since their inception, Postal Police Officers have also been assigned to

secure and protect mobile deliveries of registered mail and high-value mail

shipments on public roads and highways. Indeed, their presence on high-value

shipments was once expressly warranted to customers by the Postal Service in

regulations issued in the early 1990s. During these protection runs, Postal Police



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Officers are armed with appropriate firearms and expected to protect and secure the

delivery of the mail and other deliveries while traveling on public roads.

      20.    The Postal Service recognized its police officers’ law-enforcement

authority away from postal real estate. For example, on November 5, 1990, Postal

Police Officer Carlos Acosta successfully arrested El Sayyid Nosair on the sidewalk

outside the Marriott East Side Hotel on Lexington Avenue in New York after he

allegedly shot Rabbi Meir Kahane. Officer Acosta made the arrest after exchanging

gunfire with Nosair and suffering gunshot wounds, which thankfully were absorbed

by the bulletproof vest that Acosta wore.

      21.    Nosair was prosecuted in the Southern District of New York for his

role in Kahane’s death. At no time in that case did the federal government state or

disclose to the defense that Officer Acosta lacked legal authority to shoot at Nosair

on a public sidewalk away from a postal facility or to arrest him there. To the

contrary, the Postal Service awarded Officer Acosta its highest honor, the

Meritorious Service Award.

      22.    In 1990, the Postal Service issued a new job description for Postal

Police Officers. The Postal Service explicitly wrote that its police officers have the

responsibility to protect mail and mail in transit, as well as their other law-

enforcement tasks.

      23.    All through this time period, the courts routinely held that the

“property” of the Postal Service included mail and mail in transit, as well as other

forms of chattel property.



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Postal Accountability and Enforcement Act and “the Paradigm Shift”

       24.      In 2006, Congress passed the Postal Accountability and Enhancement

Act (PAEA), which President Bush signed into law. The PAEA was intended to

modernize postal operations and force the Postal Service to operate with greater

fiscal discipline.

       25.      Congress addressed the role of postal police officers, expanding their

jurisdiction and memorializing that expansion in an amendment to 18 U.S.C.

§ 3061, which previously set forth the law-enforcement power of postal inspectors.

Congress changed that section to add the powers of postal police officers.

       26.      Congress granted Postal Police Officers full federal law-enforcement

authority, with a nexus to “property” of the Postal Service.

       27.      The legislative history of the PAEA confirms that Congress was

expressly aware of the law-enforcement duties of Postal Police with respect to mail

away from postal real estate and they dd not wish to limit that. It is apparent that

the reference to postal “property” in the statute is not limited just to real property of

the Postal Service, but rather extends to real and chattel property.

       28.      The Postal Service has historically paid its Police Officers salaries and

benefits that are less than half of what it pays to Postal Inspectors. By expanding

Postal Police Officers’ jurisdiction, Congress sought to enable the Postal Service a

less-costly form of law-enforcement officers to address many types of criminal

activity.

       29.      In the years following the PAEA, the Postal Service dramatically



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changed and expanded the assigned duties of Postal Police. It mostly replaced

Postal Police Officers for building-security functions with contract security guards.

The Postal Service increasingly deployed Postal Police Officers for mobile patrols

away from postal facilities, to protect letter carriers and the mail in dangerous

areas, to stop mail theft from carriers and from collection boxes, and to insure the

safety of the mail at airports.

       30.      The Postal Service itself has described this change in duties as a

“paradigm shift.” In 2016, the head of Postal Police operations testified in federal

court about the role of Postal Police officers:

      “[T]he U.S. Postal Inspection Service . . . is composed of postal inspectors who

       are the agents, Postal Police officers who are uniformed officer and support

       staff . . . .”

      “[T]hink of them as a fully functioning police department whose

       responsibilities are security for postal facilities, protection of postal

       employees, protection of the mail in transit, preventing the use of mails for

       illegitimate purposes, mailing child pornography, mailing drugs through the

       mail.”

      “PPOs are responsible for providing a visible uniformed law enforcement

       presence at our primary facilities. We have increasingly used them as mobile

       agents in the street as attacks on our carriers have increased, and crimes like

       mail fishing, for example, would be a -- our blue collection boxes, folks are

       finding ways to stick lines with glue, with hooks, with other implements, and



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       pull mail out of the boxes.”

      “Having that visible uniformed presence on the street is very effective in

       combatting that. So PPOs’ role is to respond to emergency and contain those

       situations until additional resources, postal inspectors, local P.D., fire

       department can respond to the events with a postal nexus.”

       31.   The District Court credited this testimony in its decision following the

bench trial. Anderson v. Brennan, No. 14-13380-PBS, 2017 WL 1032502 (D. Mass. 2017).

The Court wrote:

      “The Postal Police are a uniformed police force whose responsibilities include

       providing security for postal facilities and employees, protecting mail while in

       transit, and preventing the use of mails for illegitimate purposes.”

      “The role of the Postal Police has evolved somewhat over time. Previously,

       PPOs were mainly responsible for security watches at entry posts and guard

       posts. Beginning around 2001, the Postal Police began to contract with

       private security to handle some of the security work previously carried out by

       PPOs. A greater portion of PPO work became street patrol and emergency

       response in marked cruisers. As a result, the work of PPOs became more

       challenging.”

       32.   As the Postal Service testified in that case, and as the District Court

found, Postal Police Officers regularly and routinely exercised their authority on

behalf of the Postal Service out in the public, combatting mail theft and tampering

and protecting postal employees, who are increasingly the victims of crime while



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performing their duties.

       33.    Postal Service witnesses have testified in multiple fora that PPOs

properly exercise full law-enforcement authority under Section 3061 when they

encounter criminal activity with respect to postal property or personnel away from

postal facilities.

The Collective Bargaining Agreement

       34.    At all relevant times PPOA and USPS have been parties to collective

bargaining agreements (“CBAs”) that set forth terms and conditions of employment

of postal police officers.

       35.    Article 15 of the CBA contains a grievance-arbitration procedure under

which PPOA may demand arbitration of unresolved disputes that arise under the

CBA. Article 15, Section 15.04 allows PPOA to file a national-level grievance

regarding the interpretation of the CBA. It provides that, absent resolution of the

dispute, PPOA may appeal the dispute to arbitration.

       36.    Article 5 of the CBA prohibits unilateral actions by USPS that affect

postal police officers’ wages, hours, and other terms and conditions of employment

established by the parties’ CBA or that are otherwise inconsistent with its

obligations under law.

       37.    Article 6 of the CBA sets forth certain rights and responsibilities of

postal police officers.

       38.    Article 14 of the CBA sets forth safety and health requirements for

USPS.



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      39.    Article 19 of the CBA addresses postal handbooks, manuals, and other

published regulations of USPS. Section 19.01 provides that those parts of manuals,

handbooks, and regulations that directly relate to postal police officers’ wages,

hours, or working conditions may not conflict with the CBA and must be continued

in effect, with the sole exception that the USPS may make changes that do not

conflict with the CBA and that are fair, reasonable, and equitable.

      40.    Section 19.02 requires USPS to provide the PPOA at least sixty (60)

days advance notice of any proposed change and requires consultation with the

Union prior to issuance. This section further permits the Union to challenge the

propriety of the change through arbitration.

      41.    Several USPS manuals, handbooks, and other regulations directly

relate to postal police officers’ hours, wages, and working conditions. Among those

is Inspection Service Handbook 701, which was most recently updated in 2007 after

Congress enacted the PAEA. The IS-701 acknowledges that postal police officers

lawfully exercise jurisdiction away from postal real estate when they are on mobile

patrols. It also expressly provides that PPOs’ duties including protection of U.S.

mail shipments on public roads.

      42.    Another regulation is the Inspection Service Handbook 702, which was

most recently updated in 2002. This handbook likewise provides that Postal Police

Officers properly exercise authority to protect and secure mail shipments on public

roads. Indeed, the document states that Postal Police Officers’ “primary functions”

include “Protecting government property, including property of the Postal Service,



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as well as other property within the postal system” and “Protecting all mail in the

custody of the U.S. Postal Service.”

The Dramatic Changes in 2020

         43.   As of January 2020, the Postal Service continued to routinely assign

Postal Police Officers on mobile patrols to investigate and prevent theft of mail on

the street and also to protect letter carriers from assault and robbery in dangerous

areas.

         44.   In February 2020, however, Deputy Chief Inspector of the Postal

Service, Craig Goldberg, testified during an interest arbitration proceeding that he

did not know whether Postal Police Officers had law-enforcement authority away

from postal real estate. He speculated that if Postal Police Officers lacked such

authority, they might be exposing themselves to civil liability if they incorrectly

exercised law-enforcement authority. Despite this assertion, the Postal Service

continued to routinely assign Postal Police Officers to law-enforcement duties off

postal real estate in support of mail protection or protection of postal personnel.

         45.   On August 25, 2020, Deputy Chief Inspector David Bowers issued a

National Communication to all Inspection Service Divisions. According to Bowers,

Postal Police Officers no longer had any law-enforcement authority, whatsoever,

except when they are physically stationed on real estate owned or leased by the

Postal Service. Accordingly, Bowers directed that PPOs immediately cease and

desist from any and all law-enforcement activity except within postal facilities.

         46.   As a consequence of Bowers’ directive, PPOs have been mostly limited



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to duties inside postal facilities. Some PPOs have been sent out in support of their

old duties but those PPOs are fearful the Postal Service will not support them if

they encounter criminal activity on their patrol.

      47.       Because PPOs are being held at stations, many of their previous duties

are going unfulfilled. The only other postal personnel who have the same law-

enforcement jurisdiction are Postal Inspectors, who mostly work 9-5 shifts. Postal

Police, by contrast, are scheduled around the clock, seven days a week.

Consequently, their off-site mobile patrols are going undone. Because of this abrupt

policy change, in many places, the U.S. mail and postal personnel are receiving less

protection.

                                     COUNT I:
                    Claim for an Injunction Pending Arbitration

      48.       PPOA repeats and realleges the foregoing allegations as if fully set

forth herein.

      49.       Postal Police Officers nationwide have suffered or will suffer

irreparable injury as a result of the Defendants’ decision to no longer recognize or

countenance their law-enforcement authority away from postal real estate. These

are harms that cannot be remedied retroactively by an arbitration award or through

the payment of any type of damages.

      50.       PPOA is likely to prevail on the merits of its arbitration claim that the

Postal Service breached the CBA by unilaterally abandoning almost 50 years of

precedent and declaring on August 25, 2020 that Postal Police Officers have no law-

enforcement authority to protect the integrity of the mail and the safety of postal

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employees away from the confines of USPS real estate.

      51.       Defendants will suffer no harm by having to rescind the August 25,

2020 policy change and by again recognizing that Postal Police Officers have law-

enforcement authority with respect to USPS property, including the mail, away

from the confines of USPS real estate.

      52.       The public interest in ensuring the integrity of the mail and ensuring

the safety of postal employees favors granting the requested injunction.

      53.       For these reasons, the Court should issue the requested injunction.

                                     COUNT II:
                   Ultra Vires Elimination of Statutory Authority

      54.       PPOA repeats and realleges the foregoing allegations as if fully set

forth herein.

      55.       The Defendants’ unilateral recategorization and purported limitation

of Postal Police Officers’ lawful duties and responsibilities was implemented

without Congressional authorization or permissible change in regulations.

      56.       Congress intended in 18 U.S.C. § 3061(c) that Postal Police Officers

have authority to protect the mail and other postal property away from postal real

estate.

      57.       Congress was specifically aware in 2006 when it wrote that new

jurisdictional statute that Postal Police Officers protected the integrity of the mail

away from postal real estate.

      58.       Congress enacted the amendments to Section 3061 against a backdrop

of judicial decisions that recognized that Postal Police Officers were exercising law-

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enforcement authority away from postal real estate.

      59.    Congress enacted the amendments against a backdrop of judicial

decisions that recognized the definition of USPS “property” included mail, as well as

including all other forms of chattel property.

      60.    By unilaterally restricting postal police officers to postal real estate

and decreeing they lack law-enforcement authority away from that real estate,

Defendants are acting in excess of their statutory authority by defying Congress’

direction that Postal Police Officers have law-enforcement authority to protect the

mails and other postal property away from postal real estate.

      61.    This Court has jurisdiction to enjoin Defendants’ action in excess of

their statutory authority.

      62.    Plaintiff’s members, other postal employees, and the general public

will be irreparably harmed by Defendants’ ultra vires action if it is not enjoined.

                              PRAYER FOR RELIEF

      WHEREFORE, the PPOA respectfully asks the Court to do the following:

      a.     Issue an injunction, either permanently or until an arbitration award

issues, that requires the Defendants to rescind the August 25, 2020 National

Communication and that otherwise enjoins the Postal Service to recognize and

acknowledge the jurisdictional authority of Postal Police Officers to exercise law-

enforcement authority with respect to U.S. mail and other postal property;

      b.     Issue such other and further relief that the Court deems appropriate;

and



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     c.    Award the PPOA its reasonable attorneys’ fees and other costs of suit.

Dated September 14, 2020            Respectfully submitted,


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